        Case 1:23-cv-21012-RMB-SAK Document 1-5 Filed 10/06/23 Page 1 of 1 PageID: 15




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                                                           Honorable Renée Marie Bumb, Chief Judge
                                                           United States District Judge
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